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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


                                                   )
 The Wilderness Society, et al.,                   )
                                                   )
                  Plaintiffs,                      )   Civil Action No. 1:17-cv-02587 (TSC)
                                                   )
         v.                                        )
                                                   )
 Donald J. Trump, et al.,                          )
                                                   )
                  Defendants.                      )
                                                   )
                                                   )
 Grand Staircase Escalante Partners,               )
 et al.,                                           )
                                                   )
                  Plaintiffs,                      )   Civil Action No. 1:17-cv-2591 (TSC)
                                                   )
         v.                                        )
                                                   )
 Donald J. Trump, et al.,                          )
                                                   )   CONSOLIDATED CASES
                  Defendants.                      )
                                                   )

                                                ORDER

       On September 24, 2018, the court held a status conference to address Plaintiffs’

Unopposed Motion for Status Conference (ECF No. 38) and other motions pending in The

Wilderness Society v. Trump, Case No. 17-cv-2587, and Grand Staircase Escalante Partners v.

Trump, Case No. 17-cv-2591. Consistent with the court’s statements during the status conference,

it is hereby ordered that:

              1. Defendants shall provide Plaintiffs 48 hours’ notice prior to any ground-disturbing

                 activities within Grand Staircase-Escalante National Monument’s original

                 boundaries. The parties shall submit a joint proposed order, detailing the specifics

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            of the notice Defendants will provide, by October 8, 2018.

         2. Defendants’ Motions to Transfer (ECF No. 18, 17-cv-2587; ECF No. 18, 17-cv-

            2591) are DENIED.

         3. The parties shall meet and confer, and submit a joint proposed briefing schedule to

            address the two Motions to Intervene pending in The Wilderness Society v. Trump,

            17-cv-2587, by October 8, 2018.

         4. Defendants shall file their anticipated Motion to Dismiss by October 1, 2018.

            Plaintiffs’ response(s) to Defendants’ Motion to Dismiss is due on November 1,

            2018 and Defendants’ reply in support of their motion is due on November 15,

            2018.


Date: September 24, 2018


                                          Tanya S. Chutkan
                                          TANYA S. CHUTKAN
                                          United States District Judge




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